Case 3:17-cv-00072-NKM-JCH Document 157 Filed 12/18/17 Page lof2 Pageid#: 697

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
vs. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

I, Michael W. May, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, Plaintiffs’ Jury
Demand, Motion for Pro Hac Vice Admission of Roberta A. Kaplan, and Proposed Order Granting Pro Hac Vice Admission of
Roberta A. Kaplan in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 11/17/2017 at 10:42 AM, I served Vanguard America c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry with the Summons,
Civil Cover Sheet with Addendum, Complaint, Plaintiffs' Jury Demand, Motion for Pro Hac Vice Admission of Roberta A.
Kaplan, and Proposed Order Granting Pro Hac Vice Admission of Roberta A. Kaplan at 383 Hazzard Street, Scottsburg, Indiana
47170 by serving Dillon Ulysses Hopper a/k/a Dillon Irizarry, authorized to accept.

Dillon Ulysses Hopper a/k/a Dillon Irizarry is described herein as:

Gender: Male Race/Skin: White Age:35 Weight: 170 Height: 5'll" | Hair: Brown Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

Executed On

nfiaha es MWdeslw Me

Michael W. May |

 

Client Ref Number:N/A
Job #: 1535925

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 3:17-cv-00072-NKM-JCH Document 157 Filed 12/18/17 Page 2of2 Pageid#: 698

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

ELIZABETH SINES, SETH WISPELWEY, MARISSA
BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH
PEARCE, MARCUS MARTIN, JOHN DOE, JANE

DOE 1, JANE DOE 2, and JANE DOE 3

 

Plaintiff(s)

Vv. Civil Action No. 3:17-cv-00072-NKM

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA, ANDREW
ANGLIN, MOONBASE HOLDINGS, LLC, et al.

 

Nee ee ee ee ee ee ee ee ee’ ee Se” Se”

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vanguard America
c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
5124 Criterion Way
Dublin, OH 43016

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Robert T. Cahill, Esq., Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190

Tel: (703) 456-8000 - Email: rcahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

A sf Joyce C. Jones

Date: October 19, 2017 Deputy Geert

 

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